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      5
          Attorney for Defendant
          KENNETH EATON
      6
                              IN THE UNITED STATES DISTRICT COURT FOR THE
      7
                                     EASTERN DISTRICT OF CALIFORNIA
      8

      9

     10   UNITED STATES OF AMERICA,                       )       No. 2:11-CR-00323 JAM
                                                          )
                                                          )       STIPULATION REGARDING
     11          Plaintiff,                               )       EXCLUDABLE TIME PERIODS UNDER
                                                          )       SPEEDY TRIAL ACT; FINDINGS AND
     12
          v.                                              )       ORDER
                                                          )
     13
          KENNETH EATON, et al.                           )
     14
                                                          )
                                                          )
                                                          )
     15
                                                          )
                 Defendants                               )
     16
                                                          )
     17

     18
                                              STIPULATION
                 Plaintiff United States of America, by and through its counsel of record, and the
     19
          defendants, by and through each counsel of record, hereby stipulate as follows:
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     21          1.      By previous order, this matter was set for status on July 17, 2012.

     22          2.      By this stipulation, the defendants now move to continue the status conference
     23
          until August 21, 2012 at 9:45 a.m., and to exclude time between July 17, 2012, and August 21,
     24
          2012 under Local Code T4. Plaintiff does not oppose this request.
     25
                 3.      The parties agree and stipulate, and request that the Court find the following:
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     27          a.      This case was declared complex at an early stage. Discovery includes

     28   approximately 1398 pages of investigative reports, related documents in electronic form, and 11


                                                              1


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          CD/DVDs. Discovery also includes voluminous recordings and summaries related to wiretaps on
      1

      2   three target telephones numbers. This discovery has been either produced directly to counsel

      3   and/or made available for inspection and copying.
      4
                 b.      Counsel for the defendants desire additional time to consult with their respective
      5
          clients, to review the current charges, to conduct investigation and research related to the
      6

      7
          charges, to review and copy discovery for this matter, to discuss potential resolutions with

      8   his/her client, and to otherwise prepare.
      9          c.      Counsel for the defendants believe that failure to grant the above-requested
     10
          continuance would deny him/her the reasonable time necessary for effective preparation, taking
     11
          into account the exercise of due diligence.
     12

     13          d.      The government does not object to the continuance.

     14          e.      Based on the above-stated findings, the ends of justice served by continuing the
     15
          case as requested outweigh the interest of the public and the defendants in a trial within the
     16
          original date prescribed by the Speedy Trial Act.
     17
                 f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,
     18

     19   et seq., within which trial must commence, the time period of July 17, 2012, to August 21, 2012,

     20   inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]
     21
          because it results from a continuance granted by the Court at defendant’s request on the basis of
     22
          the Court's finding that the ends of justice served by taking such action outweigh the best interest
     23

     24
          of the public and the defendants in a speedy trial.

     25                  4.      Nothing in this stipulation and order shall preclude a finding that other
     26   provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
     27
          period within which a trial must commence.
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      1

      2   IT IS SO STIPULATED.

      3   Dated: July 12, 2012                                 U.S. ATTORNEY
      4
                                                       by:     /s/ Chris Cosca for
      5                                                        JARED DOLAN
                                                               Assistant U.S. Attorney
      6                                                        Attorney for Plaintiff
      7

      8   Dated: July 12, 2012                                 /s/ Chris Cosca
                                                               CHRIS COSCA
      9                                                        Attorney for Defendant
     10
                                                               KENNETH EATON

     11
          Dated: July 12, 2012                                 /s/ Chris Cosca for
     12
                                                               DINA SANTOS
     13                                                        Attorney for Defendant
                                                               WILLIAM BOHAC
     14
          Dated: July 12, 2012                                 /s/ Chris Cosca for
     15
                                                               MATTHEW BOCKMON
     16                                                        Attorney for Defendant
                                                               JONATHAN GANEY
     17

     18
                                               ORDER
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          IT IS SO FOUND AND ORDERED this 12th day of July, 2012.
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     23

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                                                 /s/ John A. Mendez________________________
     25                                          HON. JOHN A. MENDEZ
                                                 UNITED STATES DISTRICT COURT JUDGE
     26

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